             Case 1:11-cr-00557-KAM Document 80 Filed 12/11/18 Page 1 of 7 PageID #: 282

AO 245B (Rev.02/18) Judgment in a Criminal Case
                                                                                                                   , , FiLED
                     Sheet 1

                                                                                                                           U"'']
                                       United States District Court ^
                                                         Eastern District ofNew York                               ^^OOKLYN OFFICE
              UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                 V.


                    Raul Granados-Rendon                                          Case Number: 11 CR557[KAM]

                                                                                  USM Number: 89926-053

                                                                                   Joseph Gentile, Esq.
                                                                                  Defendant's Attorney
THE DEFENDANT:

El pleaded guilty to count(s)       Counts 1 and 2 of a 21-count Indictment.

□ pleaded nolo contendere to count(s)
  which was accepted by the court.
□ was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                             Nature                                         Offense Ended                Count

 18U.S.C. §371                                               Sex Trafficking Conspiracy, Class D Felony      6/30/2011

 18 U.S.C. § 1591(a)(1). 18 U.S.C. § 1592(a)(2)              Sex Trafficking Conspiracy, Class A Felony

 18 U.S.C.§ 1594(0)


       The defendant is sentenced as provided in pages 2 through                          of this judgment. The sentence is imposed pursuant to
eeI The
     SenteiKing Reform Act of 1984.
        defendant has been found not guilty on count(s)

ElCount(s)      4,6, 11, 20 and 21                      □ is      El a re dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attomey for this district within 30 days of any change of name, residen :;e,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fuUy paid. If ordered to pay restitution,
the defendant must notify the court and United States attomey of material changes in economic circumstances.


                                                                         Dat^^ ImpoSl&mt^ Judgi^ent

                                                                         /s/ USDJ KIYO A. MATSUMOTO
                                                                         Signature of Judge




                                                                          Klyo A. Matsumoto, USDJ
                                                                         Name and Title of Judge


                                                                          12/3/2018
                                                                         Date
               Case 1:11-cr-00557-KAM Document 80 Filed 12/11/18 Page 2 of 7 PageID #: 283

AO 24SB (Rev.02/18) Judgment in Criminal Case
 ^         I         Sheet 2 — Imprisonment
                                                                                                    Judgment — Page    2    of
DEFENDANT: Raul Granados-Rendon
CASE NUMBER: 11CR557[KAM]

                                                          IMPRISONMENT

         The defendant is hereby committed to the custody ofthe Federal Bureau ofPrisons to be imprisoned for a total
term of:

         On Count 1: 5 years
         On Count 2: 96 months to run concurrently with credit for time served since Mr. Granados-Rendon was in custody
                     on June 27, 2016 on US govemment extradition request.


     B!I The court makes the following recommendations to the Bureau ofPrisons:
           Mr. Granados-Rendon is encouraged to avail himself in the BOP's Financial Responsibility Program that will assisi
           him with making payments towards his outstanding restitution and assessment obligations.


     □ The defendant is remanded to the custody of the United States Marshal.

     □   The defendant shall surrender to the United States Marshal for this district:

         □ at                                   □ a.m.        □ p.m.       on                                           .
         □ as notified by the United States Marshal.

     □ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         □ before 2 p.m. on

         □ as notified by the United States Marshal.
         □ as notified by the Probation or Pretrial Services Office.


                                                                 RETURN

I have executed this judgment as follows:




         Defendant delivered on                                                          to

at                                                , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                        By
                                                                                              DEPUTY UNITED STATES MARSHAL
                 Case 1:11-cr-00557-KAM Document 80 Filed 12/11/18 Page 3 of 7 PageID #: 284
AO 245B(Rev. 02/18) Judgment in a Criminal Case
                    Sheet 3 — Supervised Release
                                                                                                          Judgment—^Page   3   of
DEFENDANT: Raul Granados-Rendon
CASE NUMBER: 11 CR557[KAM]
                                                         SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: 5 years with special conditions.




                                                      MANDATORY CONDITIONS


1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days ofrelease from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            □ The above drug testing condition is suspended, based on the court's determination that you
                    pose a low risk of future substance abuse, (check ifapplicable)
4.       Sf You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
             restitution, (check ifapplicable)
5.       Ef You must cooperate in the collection of DNA as directed by the probation officer, (check ifapplicable)
6.         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where j ou
           reside, work, are a student, or were convicted of a qualifying offense, (check ifapplicable)
7.       □ You must participate in an approved program for domestic violence, (check ifapplicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
               Case 1:11-cr-00557-KAM Document 80 Filed 12/11/18 Page 4 of 7 PageID #: 285
 AO 245b(Rev.02/18) Judgment in a Criminal Case
 ,,       ^           Sheet 3A — Supervised Release
                                                                                                Judgment—Page         4       of
DEFENDANT: Raul Granados-Rendon
CASE NUMBER: 11CR557[KAM]

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposjsd
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probaticjn
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside vwthin 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours ofbecoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officei' to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week)at a lawful type ofemployment, unless the probation officer excuses you from
      doing so. If you do not have fiill-time employment you must try to find full-time employment, unless the probation officer excuse:;
      you from doing so. If you plan to change where you work or anything about your work(such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware ofa change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
      probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that ivas
      designed,or was modified for, the specific purpose ofcausing bodily injury or death to another person such as nuncha^s or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant witho'.it
    first getting the permission ofthe court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions ofthe probation officer related to the conditions ofsupervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions^ available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
             Case 1:11-cr-00557-KAM Document 80 Filed 12/11/18 Page 5 of 7 PageID #: 286
 AO 24SB(Rev. 02/18) Judgment in a Criminal Case
                     Sheet 3D — Supervised Release
                                                                                          Judgment—^Page   O     of
iSeFENDANT: Raul Granados-Rendon
CASE NUMBER: 11 CR557[KAM]

                                       SPECIAL CONDITIONS OF SUPERVISION



 1. if Mr. Granados-Rendon is deported, he need not served the terms of his supervised release in the United States and
    he shall not reenter the United States illegally.

 2. Mr. Granados-Rendon shall comply with his Order of Restitution and the Special Assessment provision incorporated
    herein and the Sex Offender Registration requirements mandated by law.

 3. Mr. Granados-Rendon Is encouraged to avail himself In the BOP's Financial Responsibility Program that will assist
    him with making payments towards his outstanding Restitution and Assessment obligations. Payments of restitution
    may be made from his commissary account.


                                                     RESTITUTION

     Restitution is ordered in the amount of $1,305,393.80, due immediately and payable at a minimum rate of $25 per
     quarter while in custody. Restitution may be paid from defendant's commissary account or through BOP Financial
     Responsibility Program. Upon his release, starting on the first day of each month and continuing until the restitution
     amount is fully paid. Restitution shall be paid at a minimum monthly rate of 10% of gross monthly income after
     deductions required by law, or $100 per month, whichever is greater. Payments shall be made to the Clerk of Court,
     U.S. District Court, 225 Cadman Plaza East, Brooklyn, NY 11201 on the first date of each month and shall reference
     the case name and docket number on the check. Payments made to the Clerk of Court will be sent upon receipt to
     Jane Doe No.2 in the Indictment, a/k/a Jane Doe C at an address to be provided to Clerk of Court.
                Case 1:11-cr-00557-KAM Document 80 Filed 12/11/18 Page 6 of 7 PageID #: 287
AO 245B (Rev. 02/18) Judgment in a Criminal Case
        *                Sheet 5 — Criminal Monetary Penalties
     '                                                                                                    Judgment — Page     6       of         7.!
DEFENDANT: Raul Granados-Rendon
CASE NUMBER: 11CR557[KAM1
                                                 CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule ofpayments on Sheet 6.

                         Assessment                  JVTA Assessment*                 Fine                      Restitution
TOTALS               $ 200.00                     $ 100.00                          $ 0.00                    $ 1,305,393.80



 □ The determination of restitution is deferred until                       . An Amended Judgment in a Criminal Case (AO 245C) will be (jntered
      after such determination.


 ^ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                                                                                                                       specifiei otherv jise in
      the priority order or percentage payment column below. However, pursuant to 18U.S.C. § 3664(i), all nonfederal victims must bi; paid
     before the United States is paid.

Name of Payee                                                          Total Loss**             Restitution Ordered           Priority or Percent! j.ge
  Payments shall be made to:                                           $1,305,393.80            $1,305,393.80
  Clerk of Court,
  U.S. District Court,
  225 Cadman Plaza East,
  Brooklyn, NY 11201
  Clerk shall fonvard payments to:
  Jane Doe No. 2 In the Indictment, a/k/a Jane Doe C at
  the address to be provided to the Clerk.




TOTALS                                 $       1,305,393.80                     $     1,305,393.80


      Restitution amount ordered pursuant to plea agreement $               1,305,393.80

□     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before tl e
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subje ::t
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

□     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      □ the interest requirement is waived for the                □ fine    □ restitution.

      □ the interest requirement for the             □     fine    □    restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110,1 lOA, and 113 A of Title 18 for offenses committed oh or
after September 13,1994, but before April 23,1996.
                Case 1:11-cr-00557-KAM Document 80 Filed 12/11/18 Page 7 of 7 PageID #: 288
A0 245B (Rev. 02/18) Judgment in a Criminal Case
       2              Sheet 6 — Schedule ofPayments
                                                                                                                  Judgment — Page              of
DEFENDANT: Raul Granados-Rendon
CASE NUMBER: 11CR557[KAM]

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A     0 Lump sum payment of$ 1,305,693.80                          due immediately,balance due

           □     not later than                                        ,or
           21    in accordance with □ C,               □ D,       □     E, or     21 F below; or

B     □    Payment to begin immediately (may be combined with                   DC,         □ D, or       □ F below); or

C     □    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years)y to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     □    Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years)y to commence                          (e.g., 30 or 60 days) after release fi'om imprisonment to a
           term of supervision; or

E     □ Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     2] Special instructions regarding the payment of criminal monetary penalties:
           Restitution Is ordered in the amount of $1,305,393.80, due immediately and payable at a minimum rate of $25 per quarter while in custody.
           Restitution may be paid from defendant's commissary account or through BOP Financial Responsibility Program. Upon his release, starting or
           the first day of each month and continuing until the restitution amount is fully paid. Restitution shall be paid at a minimum monthly rate of 10% of
           gross monthly income after deductions required by law, or $100 per month, whichever is greater. Payments shall be made to the Clerk of Couit,
           U.S. District Court, 225 Cadman Plaza East, Brooklyn, NY 11201 on the first date of each month and shall reference the case name and dockdt
           number on the check. Payments made to the Clerk of Court will be sent upon receipt to Jane Doe No. 2 in the Indictment, a/k/a Jane Doe C a | an
           address to be provided to Clerk of Court.

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetaiy penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



IZ]   Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number)y Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
       Restitution is joint and several with co-defendant: Eleuterio Granados-Rendon in 11 CR297[KAM]




□     The defendant shall pay the cost of prosecution.

□     The defendant shall pay the following court cost(s):

□     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fin!:
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
